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  UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

                 2406                                                      Blue Cross Blue Shield Antitrust Litigation
MDL No. _____________ & TITLE - IN RE: __________________________________

Case Caption (Include Plaintiff, District, and Civil Action No.) (attach list if necessary):

Reva Inc. v. Healthkeepers, Inc., et al. (S.D. Fla. Case No. 1:17-cv-24158)
_________________________________________________________________

                                     CORPORATE DISCLOSURE STATEMENT

                                                Health Options, Inc.
The undersigned counsel for ___________________________, (attach list if necessary) certifies that this
party is a non-governmental corporate party and that:


✔            This party's parent corporation(s) are listed below:


 GuideWell Mutual Holding Corporation


             The following publicly-held corporation(s) own 10% or more of the party's stock (attach list if
             necessary):




OR

        This party does not have any parent corporations; and no publicly-held corporation owns 10% or
more of the party's stock.



/s/ Allen P. Pegg                                                                   Hogan Lovells US LLP
_____________________________                                                      __________________________________
       Signature of Attorney                                                                            Name of Firm


600 Brickell Ave., Suite 2700                                                     Miami, FL 33131
___________________________                                                      ___________________________________
       Address                                                                                          City/State/Zip Code

       01/26/2018
Date _____________________


Instructions:

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exhibits. The Corporate Disclosure Statement is to be filed as a separate document. Any documents submitted with the Corporate Disclosure Statement are attachments.
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